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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO


FEDERAL TRADE COMMISSION,                      Misc. No. 5:18mc54
    Petitioner,
                                               JUDGE SARA LIOI
             v.                                Magistrate Judge George J. Limbert

FULLY ACCOUNTABLE, LLC,
    Respondent.


            SECOND DECLARATION OF HARRIS A. SENTURIA

      Pursuant to 28 U.S.C. § 1746, I declare as follows:

      1.     I am an attorney employed by the U.S. Federal Trade Commission

(FTC or Commission) in the East Central Region Office in Cleveland, Ohio. I am

assigned to the FTC’s investigation of Fully Accountable, LLC (FTC File No.

1723195).

      2.     I previously executed a declaration in support of the FTC’s Petition to

Enforce Civil Investigative Demand. See Doc. 1-1. That declaration discussed the

basis for the FTC’s investigation and described the various ways in which Fully

Accountable failed to respond to a civil investigative demand (CID) issued by the

Commission in September 2017.

      3.     I am authorized to execute this second declaration verifying the facts

that are set forth in the FTC’s Opposition to Fully Accountable, LLC’s Petition to

Enforce Petition to Quash and Limit. See Doc. 21. I will refer to Fully Accountable’s

filing as “Petition.” The facts set forth herein are based on my personal knowledge

or information made known to me in the course of my official duties.

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       4.        Fully Accountable is an Ohio limited liability company with its

principal place of business at 2680 West Market Street, Fairlawn, Ohio 44333. Fully

Accountable markets itself as a “Back Office Solution” specializing in providing

services to internet marketers. In 2017, the FTC opened an investigation into Fully

Accountable and the services it provided to groups of entities and affiliates involved

in the internet marketing of various dietary and health-related supplements and

skin creams. See Doc. 1-1 at 3-4.

       5.        The Commission issued a CID to Fully Accountable on September 21,

2017 (2017 CID) under the authority of three FTC resolutions, each of which

authorizes the use of compulsory process to investigate the conduct at issue. See

Doc. 1-1 at 4-6; Doc. 1-2 at 21-23.

       6.        Fully Accountable failed to comply with the 2017 CID. Although Fully

Accountable submitted a notarized Certificate of Compliance, the company in fact

provided no documents and only partial or evasive responses to the few answered

interrogatories. See Doc. 1-1, Att. 1. As a result, on June 8, 2018, the Commission

commenced this action in the Northern District of Ohio to enforce the 2017 CID. See

Doc. 1 et seq.

       7.        Fully Accountable did not file an opposition to the FTC’s Petition to

Enforce Civil Investigative Demand. Following a hearing on August 9, 2018, the

district court issued an order on August 13, 2018, requiring Fully Accountable to

comply fully within 10 days. Doc. 14.




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      8.     On August 17, 2018, Fully Accountable made what it claimed was its

final production in response to the 2017 CID. On August 23, 2018, Fully

Accountable sent a second Certificate of Compliance, certifying that “all of the

documents, information and tangible things” required by the CID had been

submitted.

      9.     As we reviewed the supplemental responses, we observed several

deficiencies and inconsistencies. For example, Fully Accountable produced to us

information that proved incomplete, only amending its response after it had already

certified its production as complete. In other instances, the company changed its

position in its supplemental responses and produced information and documents

that it previously claimed to have lacked. Finally, the company provided corrected

or expanded supplemental responses to multiple specifications, confirming that its

initial response was not complete as it had certified.

      10.    To explore these and other deficiencies and inconsistencies, to

determine whether Fully Accountable had complied with this Court’s Order, and to

obtain more information in support of the investigation, the Commission issued a

second CID to Fully Accountable on September 10, 2018 (2018 Fully Accountable

CID). The 2018 Fully Accountable CID seeks testimony from that entity on seven

topics. These topics included the company’s responses to the 2017 CID, the

company’s document preservation efforts, and the company’s records management

system. The CID also seeks testimony regarding the company’s relationships to

Sarah Scava, a former employee, and to an entity called Elevated Health, LLC, a



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company that appears to be involved in marketing products to consumers over the

internet and that has ties to individuals connected to Fully Accountable, including

Sarah Scava.

      11.    The Commission also issued a CID to Sarah Scava on September 10,

2018 (the 2018 Sarah Scava CID). The 2018 Sarah Scava CID seeks only testimony

on 13 topics, including her work with Fully Accountable, her involvement with

Elevated Health and its business, and the relationships among Sarah Scava,

Elevated Health, and other entities and individuals at issue in the investigation.

      12.    Following service of the 2018 CIDs, I was contacted by Rachel Scava.

In a series of email and telephone communications, Rachel Scava stated that she

represented both Fully Accountable and Sarah Scava and we began to discuss

potential dates for Fully Accountable’s testimony.

      13.    On October 5, 2018, in the midst of these discussions, Fully

Accountable filed with the Commission a petition to limit or quash the 2018 Fully

Accountable CID for testimony. That same day, Elevated Health (not Sarah Scava)

also filed with the Commission a petition to limit or quash the 2018 Sarah Scava

CID on various asserted grounds. The filing by Elevated Health (rather than Sarah

Scava) surprised us, as Rachel Scava had not informed us that she was representing

Elevated Health in any of our conversations.

      14.    On November 19, 2018, the Commission issued a seven-page opinion

denying both petitions to limit or quash. Accordingly, the Commission ordered




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